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Plaintiff

VS.
CR. NO. O4-20041-D

M|CHAEL SANDERS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY\NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Wednesday, Ju|y 20l 2005l at 1 :00 p.m., in Courtroom 3. 9th F|oor of the
Federa| Bui|ding, Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT lS SO ORDERED this d day Of Ju|y, 2005.

RN|CE B. D NALD
UN|TED STATES D|STRECT JUDGE

Thls document entered on the docket sheet in chr:Pliance
with Fiu|e 55 and/or 32(b) FFlCrP on "

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:04-CR-20041 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

